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                     EXHIBIT 1
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                                                                                                                ***EFILED***
                                                                                               Case Number 2023LA001311
                                                                                                   Date: 9/21/2023 12:25 PM
                                                                                                             Thomas McRae
                                                                                                      Clerk of Circuit Court
                                                                             Third Judicial Circuit, Madison County Illinois

                        IN THE CIRCUIT COURT OF MADISON COUNTY
                                    STATE OF ILLINOIS

DARYL MEANS, an individual, on
behalf of himself and all others similarly
situated,
                                                                          2023LA001311
                   Plaintiffs,                                 Case No.

V.

Johnson & Johnson Holdco (NA), Inc.;
G1axoSmithKline LLC; Reckitt Benckiser LLC;
Bayer Healthcare LLC; The Procter & Gamble
Company; Walmart, Inc.; Walgreen Co.; Target
Corporation; CVS Pharmacy, Inc.;
Amazon.com, Inc.; Amazon.com Services LLC;
DOES 1-20,

                   Defendants.

                                   CLASS ACTION COMPLAINT

        COMES NOW Plaintiff DARYL MEANS, by and through his undersigned counsel, and

hereby brings this action on behalf of himself and all others similarly situated, and in support

thereof, states:

                                          INTRODUCTION

        1.         This is a class action for damages and injunctive relief related to Defendants'

wrongdoing in connection with the marketing, manufacturing, distribution, and sale of over-the-

counter cold medicines containing Phenylephrine.

        2.         Phenylephrine is a purported decongestant used in at least 250 different products,

including Nyquil Severe Cold & Flu, Tylenol Cold & Flu Severe, Sudafed Sinus Congestion,

Mucinex Sinus Max, and many others, as well as generic brands developed and sold by retailers

like Walmart, Walgreens, Target, and CVS (the "Phenylephrine Products").




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       3.      Defendants manufacture, test, promote, advertise, market, distribute and sell the.

Phenylephrine Products for the treatment of congestion and other associated cold and flu

symptoms. Millions of Illinoisans, and hundreds of millions of Americans, purchase these products

for help relieving congestion and other associated cold and flu symptoms because they are told by

the above-captioned Defendants that they work for that purpose.

       4.      For years, Defendants have advertised and marketed the Phenylephrine Products to

unsuspecting consumers despite knowing that phenylephrine is ineffective for the treatment of

nasal congestion and the other cold and flu symptoms for which Defendants promote its use. On

or about September 12, 2023, the Federal Drug Administration ("FDA"), after careful study and

consideration, announced publicly that phenylephrine is ineffective as a treatment for such

symptoms.

       5.      As a proximate result of Defendants' deceptive, fraudulent, unlawful, and/or unfair

conduct, Plaintiff and all class members collectively suffered hundreds of millions of dollars in

damages in reliance upon Defendants' knowingly false representations about the effectiveness of

phenylephrine and the Phenylephrine Products.

       6.      Plaintiff and the Class members therefore demand judgment against Defendants

and request, among other things, compensatory damages, punitive damages, attorneys' fees; costs,

injunctive relief, and all other available remedies.and damages allowed by law.

                                           PARTIES

       7.      At all relevant times, Plaintiff Daryl Means was and has been a resident of the

Madisori County, State of Illinois.

       8.      On numerous occasions within the: statutory time period, in reliance upon

Defendants' intentionally false and fraudulent marketing, Plaintiff purchased the Phenylephrine



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Products, and each of them, within Madison County, State of Illinois, for treatment of cold and flu

symptoms.

       9.      Defendant Johnson & Johnson Holdco (NA), Inc., is a New Jersey corporation, with

headquarters and a principal place of business in the State of New Jersey. Upon information and

belief, Defendant Johnson & Johnson Holdco (NA), Inc., is a wholly owned subsidiary of Johnson

& Johnson, a New Jersey corporation, with headquarters and a principal place of business in the

State of New Jersey (collectively "J&J"). Upon information and belief, Johnson & Johnson Holdco

(NA), Inc., was previously named Johnson & Johnson Consumer Inc. At all times relevant hereto,

Defendant J&J was engaged in the business of manufacturing, marketing, testing, promoting,

selling, and/or distributing certain of the Phenylephrine Products, including but not limited to,

Tylenol, Sudafed, and Benadryl.

       10.     Defendant G1axoSmithKline LLC is a Delaware corporation with headquarters and

a principal place of business in the State of Pennsylvania. Upon information and belief,

G1axoSmithKline LLC is a wholly owned subsidiary of GlaxoSmithKline PLC a public limited

company organized under the laws of England and Wales (collectively "GSK"). At all times

relevant hereto, Defendant GSK was engaged in the business of manufacturing, marketing, testing,

promoting, selling, and/or distributing certain of the Phenylephrine Products, including but not

limited to, Robitussin, Theraflu, Contac, and Advil.

       11.     Defendant Recicitt Benckiser LLC is a Delaware limited liability corporation, with

headquarters and a principal place of business in the State of New Jersey. Upon information and

belief, Reckitt Benckiser LLC, is a wholly owned subsidiary of Reckitt Benckiser Group PLC, a

public limited company organized under the laws of England and Wales (collectively "Reckitt")

At all times relevant hereto, Reckitt was engaged in the business of manufacturing, marketing,



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testing, promoting, selling, and/or distributing certain of the Phenylephrine Products, including but

not limited to, Mucinex.

       12.     Defendant Bayer Healthcare LLC is a Delaware limited liability corporation with

headquarters and a principal place of business in the State of New Jersey. Upon information and

belief, Bayer Healthcare LLC is a wholly owned subsidiary of Bayer Corporation, an Indiana

corporation with a principal place of business in the State of Pennsylvania (collectively "Bayer")

At all times relevant hereto, Defendant Bayer was engaged in the business of manufacturing,

marketing, testing, promoting, selling, and/or distributing certain of the Phenylephrine Products,

including but not limited to, Alka-Seltzer.

       13.     Defendant The Procter & Gamble Company ("Proctor") is an Ohio corporation with

headquarters and principal place of business in the State of Ohio. At all times relevant hereto,

Defendant Proctor was engaged in the business of manufacturing, marketing, testing, promoting,

selling, and/or distributing certain of the Phenylephrine Products, including but not limited to,

Dayquil and NyQuil.

       14.     Defendant Walmart Inc. ("Walmart") is a Delaware corporation with headquarters

and principal place of business in the State of Arkansas. At all times relevant hereto, Walmart was

engaged in the business of manufacturing, marketing, testing, promoting, selling, and/or

distributing certain of the Phenylephrine Products.

       15.     Defendant Target Corporation ("Target") is a Minnesota corporation with

headquarters and principal place of business in the State of Minnesota. At all times relevant hereto,

Target was engaged in the business of manufacturing, marketing, testing, promoting, selling,

and/or distributing certain of the Phenylephrine Products.




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       16.     Defendant CVS Pharmacy, Inc. ("CVS") is a Delaware corporation with

headquarters and principal place of business. in the State of Rhode Island. At all times relevant

hereto, CVS was engaged in the business of manufacturing, marketing, testing, promoting, selling,

andlor distributing certain of the Phenylephrine Products.

       17.     Defendant Walgreen Co. ("Walgreens") is an Illinois corporation with headquarters

and principal place of business in the State of Illinois. At all times relevant hereto, Walgreens was

engaged in the business of manufacturing, marketing, testing, promoting, selling, and/or

distributing certain of the Phenylephrine Products.

       18.     Defendant Amazon.com, Inc. is a Delaware corporation with its principal place of

business in the State of Washington and Arnazon.com Services LLC is a Delaware Limited

Liability Company with .its principal place of business in the State of Washington (collectively

"Amazon"). At all times relevant hereto, Amazon was engaged in the business of manufacturing,

marketing, testing, promoting, selling, and/or distributing certain of the Phenylephrine Products.

       19..    The true names and capacities of defendants Does 1 through 20 are currentl'y

unknown to Plaintiff who, therefore, sues these Defendants under these fictitious names. These

defendants.are each directly andlor vicariously responsible, in some manner, for the harms alleged

herein. If/when Plaintiff learns these Defendants' true names and capacities; Plaintiff will seek

leave to amend this Petition accordingly.

       20.     The true names and/or- capacities, whether individual, corporate, partnership,

associate, governmental, or otherwise, of Defendants DOES 1 through 20, inclusive, and each of

them, are unknown to Plaintiff at this time, who therefore sues said Defendants by such fictitious

names. Plaintiff is informed and believe, and tliereori alleges, that each Defendant designated

herein as a DOE caused injuries and damages proximately thereby to Plaintiff and the class as



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hereinafter allege; and that each DOE Defendant is liable to Plaintiff and the class for the acts and

omissions alleged herein below, and the resulting injuries to Plaintiff and the class, and damages

sustained by them. Plaintiffwill amend this Petition:to allege the true names and capacities of said

DOE Defendants when ascertained.

                                 JURIS.DICITON AND VENUE

       21.     This Court has jurisdiction over this matter because it is a civil matter in which

more than $50,000.00 is in controversy.

       22.     Venue is proper in this Circuit because Plaintiff is a resident of the Madison County,

purchased the Phenylephrine Products in the Madison County, and was f rst harmed by the

Phenylephrine Products in the Madison County.

                                  GENERAL ALLEGATIONS

       23.     The main active ingredient in the Phenylephrine Products is phenylephrine

hydrochloride, or "PE." In 1994, the FDA issued a final monograph establishing conditions under

which OTC nasal decongestant drug products are generally recognized as safe and effective

("GRASE") and not misbranded. Phenylephrine is included in the final monograph as an OTC-oral

nasal decongestant.

       24.     Defendants marketed PE as an effective decongestant that should be used to relieve

nasal congestion . and sinus pressure associated with colds, allergies, - and other respiratory

conditions. According to Defendants; phenylephrine works by constricting blood vessels in the

nasal passages, which reduces swelling and congestion.

       25.     However, Defendants knew that these representations concerning phenylephrine's

efficacy at treating nasal congestion were false.




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       26.     In 2007, the consumer advocacy group Public Citizen filed a petition with the U.S.

Food and Drug Administration (FDA) regarding phenylephrine. The petition requested that the

FDA re-evaluate the safety and efficacy of phenylephrine as a nasal decongestant and take

regulatory action.

       27.     Defendants deceived Plaintiff and the public in general by making these intentional

misrepresentations regarding the efficacy of phenylephrine and the Phenylephrine Products. Public

Citizen expressed concerns that phenylephrine, the active ingredient in many OTC decongestant

products, was not as effective as another decongestant called pseudoephedrine. The petition argued

that the switch from pseudoephedrine to phenylephrine in many cold and allergy medications had

not been supported by adequate scientific evidence demonstrating the latter's effectiveness - in

relieving nasal congestion.

       28.     Public Citizen also raised concerns about the potential side effects and safety of

phenylephrine, suggesting that its use might lead to increased blood pressure in some individuals.

       29.     The FDA reviewed the concerns raised by the Public Citizen petition regarding the

safety and efficacy of phenylephrine as a nasal decongestant. The FDA concluded that, based on

the available data at the time of its review in 2007, phenylephrine could be considered effective as

a nasal decongestant when used at the recommended doses.

       30.     Thus, in 2007, the FDA concluded that orally administered PE was Generally

Recognized as Safe and Effective (GRASE).

       31.     The FDA's GRASE determination allowed Defendants to market the Products as

an OTC or "over-the-counter" medication. This was an important designation to Defendants as it

allowed them to market the Products to consumers without requiring a doctor's prescription,




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making it more accessible for self-treatment, and allowing Defendants to make billions of dollars

in OTC sales.

       32.      However, on September l lth and 12th, 2023, the FDA issued a new report detailing

its updated review of the efficacy of phenylephrine, based on the studies it initially reviewed in

2007 and additional studies obtained since its-initial review. A copy of the FDA's report is attached

as Exhibit 1.

       33.      The FDA's 2023 findings are based on rigorous scientific research and evaluation.

At its initia12007 Nonprescription Drugs Advisory Committee ("NDAC") meeting and review, the

FDA reviewed clinical effectiveness data for oral doses between 5mg and 40mg in a total of 14

studies, of which 7 reported positive measurable efficacy results.

       34.      During its initial 2007 Nonprescription Drugs Advisory Committee ("NDAC")

meeting and review, the FDA reviewed clinical effectiveness data for oral doses between 5mg and

40mg in a total of 14 studies, of which 7 reported positive measurable efficacy results.

       35.      However, in its re-analysis of these studies in 2023, the FDA found sigiiificant

problems with the 2007 studies:

       [w]hen considering the studies through a modern drug review lens, all of the studies
       (both positive and negative) were highly problematic in both design and
       methodology. All used a highly variable endpoint (NAR) to study a drug in the
       setting of a highly variable disease state (the common cold) that is no longer used
       as a primary endpoint to evaluate congestion in pivotal trials. Further, all the
       positive studies (and most of the negative studies) were unpublished and therefore
       never peer-reviewed. Six of the seven positive studies came from a single study
       center (funded by the manufacturer of Neo-Synephrine), were very small in size,
       and (except in one instance) the results could not be duplicated at two other study
       centers (also funded by the same manufacturer) that used as similar study design
       and methodology.

(Exhibit 1).
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         36.      Thus, the FDA found that the original studies had data integrity issues and that the

results of some 2007 studies could not be replicated in other studies at other locations.

         37.     Due to the flaws in methodology and design of the previous studies, the FDA now

believes that the studies evaluated for the efficacy of phenylephrine in 2007 are "unacceptable as

continued support for the efficacy of monographed doses or oral PE." Exhibit 1.

         38.     Since 2007, several additional large clinical trials have been conducted regarding

the efficacy of phenylephrine, providing evidence of the absence of a decongestant effect from the

OTC approved doses of 10 mg.l These studies show that the Phenylephrine Products are no more

effectivz than placebo in decreasing nasal congestion and, thus, lack efficacy.

         39.     On September 12, 2023, an FDA panel unanimously declared that phenylephrine,

the active ingredient in the Phenylephrine Products, is an ineffective decongestant.

         40.     At least since 2018, if not earlier, Defendants knew or should have known that their

marketing claims regarding the Phenylephrine Products' efficacy were false and misleading.

         41.     Plaintiff and the class members purchased the Phenylephrine Products in reliance

on Defendants' false and deceptive marketing claims. Plaintiff and the class mem~bers acted as

reasonable consumers in light of all the circumstances.

                                   CLASS ACTION ALLEGATIONS




1  See, e.g., Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular tolerability of
phenylephrine HCI 10, 20, and 30 mg after a single oral administration in healthy volunteers, Clin Diug Investig,
35(9):547-558; Day, JH, MP Briscoe, JD Ratz, M Danzig, and R Yao, 2009, Efficacy of loratadine-montelukast on
nasal congestion in patients with seasonal allergic rhinitis in an environmental exposure unit, Aiin Allergy Asthma
Immunol, 102(4):328-338; Horak, F, P Zieglmayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig,
2009, A placebo-controlled study of the nasal decongestant effect of phenylephrine and pseudoephedrine in the
Vienna Challenge Chamber, Ann Allergy Asthma Immunol, 102(2):116-120; Meltzer, EO, PH Ratner, and T
McGraw, 2015, Oral phenylephrine HCl for nasal congestion in seasonal allergic rhinitis: A randomized, open-label,
placebo-controlled study, J Allergy Clin Immunol Pract, 3(5):702-708; Meltzer, EO, PH Ratner, and T McGraw,
2016, Phenylephrine hydrochloride modified-release tablets for nasal congestion: a randomized, placebo-controlled
trial in allergic rhinitis patients, Ann Allergy Asthma Immunol, 116(1):66-71.

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        42.      Pursuant to 735 ILCS 5/2-801, Plaintiff brings this class action on his own behalf
                                   ,
and on behalf of all other similarly situated consumers in the United States as members of the

following proposed Illinois class, to be defined as follows:

              a. During the fullest period allowed by law, all persons who, while a resident of

                 Illinois, purchased any of the Phenylephrine Products at any location in Illinois,

                 including without limitation any online purchase made from Illinois (the "Class")

              b. Excluded from the class are assigned judges and members of their families within

                 the first degree of consanguinity, Defendants, and their subsidiaries, affiliates,

                 officers, and directors.

        43.      Like Plaintiff, all Class members purchased the Phenylephrine Products based on

the misrepresentations that said products were effective in the treatment of congestion and other

associated cold and flu symptoms, and that such understanding was reasonable and was a material

basis for the decision to purchase the Phenylephrine Product, which Defendants intended to foster

through its various marketing activities in connection with the sale of the Phenylephrine Products.

       44.       The proposed Class is so numerous that individual joinder of all its members is

impracticable because members of the Class number in the tens or liundreds of t1i.ousands. The

precise number of Class members and their identities are unknown to Plaintiff at this time but are

objectively ascertainable and will be determined througli appropriate discovery.

       45.       Plaintiff and his counsel will fairly and adequately protect and represent the

interests of each member of the class. Plaintiff has retained counsel experienced in complex

litigation and class actions.

       46.       Plaintiffhas no adverse or antagonistic interests to those of the Class, nor is Plaintiff

subject to any unique defenses. Plaintiff's claim is typical of every member of the Class.



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       47.      There are common questions of law and fact affecting Plaintiff and the Class

members. These include, but are not limited to:

             a. Whether Defendants marketed and advertised the Phenylephrine. Products in a way

                that was false or misleading.

             b. Whether by the misconduct set forth herein, Defendants have engaged and continue

                to engage in any unfair practice, deception, fraud, false pretense, false promise,

                misrepresentation, concealment, suppression, or omission of any material fact in

                connection with the sale or advertisement of the Phenylephrine Products in

                violation of 815 ILCS 505/1 et seq.

             c. Whether Defendants' conduct constitutes violations of the laws asserted herein.

             d. Whether Defendants' made intentional or negligent misrepresentati'ons about the

                Phenylephrine Products.

             e. Whether Class members were harmed by Defendants' misconduct and, if so, to

                what extent.

             f. Whether the Class is entitled to recover statutory attorney's fees.

             g. Whether an injunction is necessary to prevent Defendants from continuing to

                market and sell the Phenylephrine Products that lack efficacy.

       48.      These common questions of law and/or fact predominate over any questions

affecting only individual Class members.

       49.      A class action is superior to the other available methods for a fair and efficient

adjudication of this controversy. The damages or other financial detriment suffered by the Plaintiff

and individual Class members is relatively small compared to the burden and expense that would

be entailed by individual litigation of their claims against Defendants. It would thus be virtually



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impossible for Plaintiff and Class members, on an individual basis, to obtain meaningful and

effective redress for the wrongs done to them. Further, it is desirable to concentrate the litigation

of the Class members' claims in one forum, as it will conserve party and judicial resources and

facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would be

encountered in the management of this case that would preclude its maintenance as a class action.

        50.    The Class also may be certified because Defendants have acted or refused to act on

grounds applicable to the Class, thereby making appropriate final declaratory and/or injunctive

relief with respect to the members of the Class as a whole.

       51.     Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

Defendants from engaging in the acts described above, including continuing to market and sell

Phenylephrine Products that lack efl•icacy, and requiring Defendants to provide a full refund of the

purchase price of the Products to Plaintiff and the Class members.

                                            COUNTI

              Violation of the Consumer Fraud Deceptive Business Practices Act

                                    815 ILCS §§ 505/1 et seq.

               (On Behalf of the Plaintiff and the Class Against All Defendants)

       52.     Plaintiff incorporates by reference and realleges every allegation contained above

as though fully set forth herein.

       53.     Plaintiff and the Class members defined herein are each a"person" as defined by

815 ILCS 505(1)(c). Likewise, each of the Defendants are a"person" under that provision.




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        54.     The Defendants made numerous "advertisements" as defined by 815 ILCS 505/1(a)

in print, radio, television, packaging, and other forms regarding the purported efficacy of the

Phenylephrine Products for treating congestion.

        55.     The Defendants made numerous "sales" of the Phenylephrine Products as defined

by 815 ILCS 505/1(d).

        56.     The Phenylephrine Products are "merchandise" as defined by 815 ILCS 505/1(b).

        57.     The Defendants committed unfair or deceptive acts or practices in connection with

the sale and advertisement of the Phenylephrine Products, including by using or employing

deception, fraud, false .pretense, false.promise, misrepresentation, concealment, suppression or

omission of material fact with the intent that others would rely upon the concealment, suppression,

or omission of such material fact in violation of 815 ILCS 505/2.

        58.     As a direct and proximate result of Defendants' violations of 815 ILCS 505/2,

Plaintiff and the Class members have or will suffer ascertainable loss of money and/or property

and seek relief pursuant to 815 ILC 505/10a.

        59.     Plaintiff and the Class seek their reasonable attorney's fees and costs pursuant to

815 ILCS 505/l0a(c).

                                             COUNT II

                                     Negligent Misrepresentation

               (On Behalf of the Plaintiff and the Class Against All Defendants)

        60.     Plaintiff incorporates by reference and realleges every allegation contained above

as though fully set f.orth herein.




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        61.    At all relevant times, Defendants had the duty and obligation to truthfully represent

to Plaintiffs the facts concerning the ineffectiveness of phenylephrine and the Phenylephrine

Products.

        62.    Instead, Defendants aggressively (and falsely) advertised the effectiveness of

phenylephrine and the Phenylephrine Products, despite the fact that each such Defendant should

have known that phenylephrine and the Phenylephrine Products were entirely ineffective against

congestion and the associated cold & flu symptoms the Phenylephrine Products were advertised

to treat.

        63.    Defendants negligently deceived Plaintiff and the Class members by making these

misrepresentations regarding the efficacy of phenylephrine and the Phenylephrine Products.

        64.    At the time the aforesaid misrepresentations were made, Defendants understood

that their careless misrepresentations would induce Plaintiff and the Class members to rely upon

them.

        65.    At the time Defendants made the above-described misrepresentations, Plaintiff and

the Class members reasonably believed them to be true. In reasonable and justified reliance upon

said misrepresentations, Plaintiffs purchased the-Phenylephrine Products.

        66.    As a direct and proximate result of Defendants' conduct, Plaintiff and the Class

members suffered serious financial harm, including the expenditure of substantial sums to

purchase the Phenylephrine Products, which Defendants knew or should have known were and are

ineffective for their advertised purpose.

                                            COUNT III

                                  Breach of Express Warranty

              (On Behalf of the Plaintiff and the Class Against All Defendants)



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        67.     Plaintiff incorporates by reference and realleges every allegation contained above

as though fully set forth herein.

        68.     Section 2-313 of the Uniform Commercial Code provides that an affirmation of fact

or promise, including a description of the goods, becomes part of the basis of the bargain and

creates an express warranty that the goods shall conform to the promise and to the description. 810

ILCS 5/2-313.

        69.     Plaintiff, and each member of the Class, formed a contract with Defendants at the

time PlaintifPand the other members of the Class purchased the Phenylephrine Products. The terms

of those contracts include the cognitive health benefit promises and affirmations of fact made by

Defendants on the Phenylephrine Products' labels and packages as described above. These

representations constitute express warranties, became part of the basis of the bargain, and are part

of a standardized contract between Plaintiff and the members of the Class on the one hand, and

Defendants on the other.

        70.     All conditions precedent to Defendants' liability under this contract have been

performed by Plaintiff and the Class Members.

        71.     At all relevant times, Defendaiits had the duty and obligation to truthfully represent

to Plaintiff and the Class members the facts conceming the ineffectiveness of phenylephrine and

the Phenylephrine Products. Instead, Defendants aggressively (and falsely) advertised the

effectiveness of phenylephrine and the Phenylephrine Products, despite the fact that each such

Defendant knew that phenylephrine and the Phenylephrine Products were entirely ineffective

against congestion and the associated cold & flu symptoms the Phenylephrine Products were

advertised to treat.



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        72.     Defendants breached the terms of this contract, including the express warranties,

with Plaintiff and the Class members by not providing the Phenylephrine Products that could

provide the cognitive health benefits as represented and described above.

        73.     As a result of Defendants' breach of their warranty, Plaintiff and the Class members

have been damaged in the amount of the purchase price of the Phenylephrine Products they

purchased.

                                            COUNT IV

                       Strict Liability Design and Manufacturing Defect

               (On Behalf of,the P'laintiff and the Class Against All Defendants)

        74.    Plaintiff incorporates by reference and realleges every allegation contained above

as though fully set forth herein.

        75.    At the time that the Phenylephrine Products left the control of the Defendants, the

Phenylephrine Products were defective as a result of Defendants' design, manufacture, alteration,

or modification. The defects included, but are not limited to, materials that are unsafe for human

consumption, and/or materials not identified on the Product itself.

       76.     At all relevant times, Defendant knew and intended that the Phenylephrine Products

would be purchased and used by members of the general public who would rely on Defendants to

properly identify the relevant characteristics and usefulness of the Product.

       77.     At the time of the incidents giving rise to this Complaint, the Phenylephrine

Products were being used in a manner that was foreseeable by the Defendants and in a manner

which the Phenylephrine Products were intended to be used.




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       78.     Defendants knew .or should have known their manufacture or design of the

Phenylephrine Products was defective,. causing.the Phenylephrine Products to fail to perform as

an ordinary consumer would expect when used in,an intended or reasonably foreseeable manner.

       79.     In addition, the risks inherent in the design of the Phenylephrine Products outweigh

any benefits of that design.

       80.     As a direct and proximate result of Defendants' conduct, Plaintiff and the Class

mebmers have suffered and continue to suffer serious harm.

                                             COfJNT V

                                    Fraudulent Misrepresentation

               (On Behalf of the Plaintiff and the Class Against All Defendants)

       81.     Plaintiff incorporates by reference and realleges every allegation contained above

as though fully set forth herein.

       82.     At all relevant times, Defendants had the duty and obligation to truthfully represent

to Plaintiff a.nd the Class members the facts concerning the ineffectiveness of phenylephrine and

the Phenylephrine Products.

       83.     Instead, Defendants aggressively. (and falsely) advertised the effectiveness of

phenylephrine and the Phenylephrine Products, despite the fact that each such Defendant knew

that phenylephrine and the Phenylephrine Products were entirely ineffective against coiigestion

and the associated cold & flu symptoms the Phenylephrine Products were advertised to treat.

       84.     Defendants willfully deceived Plaintiff and the Class members by making these

intentional misrepresentations regarding the efficacy of phenylephrine and the Phenylephrine

Products.




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       85.      At the time the aforesaid misrepresentations were made, Defendants intended to

induce Plaintiff and the Class members to rely upon such misrepresentations.

       86.      At the time Defendants made the above-described misrepresentations, Plaintiff and

the Class members reasonably believed them to be true. .

       87.      In reasonable and justified reliance upon said misrepresentations, Plaintiff and the

Class members purchased the Phenylephrine Products.

       88.      As a direct and proximate result of Defendants' conduct, Plaintiff and the Class

members suffered serious financial harm, including the expenditure of substantial sums to

purchase the Phenylephrine Products, which Defendants knew were and are ineffective for their

advertised purpose.

                                      PRAYER FOR RELIEF

       WHEREFORE Plaintiff, individually, and on behalf of the proposed Class, prays the Court

grant the following relief:

             a. Enter an order certifying this action as a class action and appointing Daryl Means

                as the representative of the Class.

             b. Enter an order appointing Benjamin Schmickle, Sophie Zavaglia, and Benjamin

                McIntosh of SWMW Law, LLC, as counsel of the Class.

             c. In the event the Class is certified, enter judgment in favor of Plaintiff and inembers

                of the Class in the sum of the purchase price of the Phenylephrine Products.

             d. Enter judgment awarding class counsel reasonable attorney's fees and all expenses

                of this action to be paid by Defendants, and to require Defendants to pay the costs

                and expenses of class notice and administration.




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       e. Enter judgment awarding Plaintiff a reasonable service award for serving as the

          representatives of the classes.

       f. Enter a judgment of permanent injunction against Defendants prohibiting

          Defendants from selling the Phenylephrine Products to Illinois consumers.

PLAINTIFF DEMANDS TRIAL BY JURY OF 12.


                                                       Respectfully Submitted,
                                                       SWMW LAW, LLC

                                                 By:   /s/Beniamin S. Mclntosh
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         3:23cv3494, Means V. Johnson & Johnson Holdco (Na), Inc. Et Al
                                                    US District Court Docket
                                        United States District Court, Illinois Southern
                                                         (East St. Louis)
                                          This case was retrieved on 10/26/2023

Header


Case Number: 3:23cv3494                                                                                 Class Code: Open
Date Filed: 10/25/2023                                                                                    Statute: 28:1441
Assigned To: Magistrate Judge Mark A. Beatty                                                        Jury Demand: Plaintiff
Nature of Suit: Product Liability (365)                                                              Demand Amount: $0
Cause: Petition for Removal- Product Liability                                            NOS Description: Product Liability
Lead Docket: None
Other Docket: Circuit Court of Madison County,
2023LA001311
Jurisdiction: Diversity




Participants

Litigants                                                         Attorneys
Daryl Means                                                       Benjamin Stephen McIntosh
an individual, on behalf of himself and all others similarly      LEAD ATTORNEY;ATTORNEY TO BE NOTICED
situated |                                                        SWMW Law, LLC
Plaintiff                                                         701 Market Street Suite 1000
                                                                  St. Louis, MO 63101
                                                                  USA
                                                                  314-480-5180 Fax: 314-932-1566
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JOHNSON & JOHNSON HOLDCO (NA), INC.
Defendant
Glaxosmithkline LLC
Defendant
Reckitt Benckiser LLC
Defendant
Bayer Healthcare LLC                                              Eric M. Roberts
Defendant                                                         ATTORNEY TO BE NOTICED
                                                                  DLA Piper LLP (US) - Chicago
                                                                  444 West Lake Street Suite 900
                                                                  Chicago, IL 60606
                                                                  USA
                                                                  312-368-2167 Fax: 312-251-2859
                                                                  Email:Eric.Roberts@dlapiper.Com
The Procter & Gamble Company
Defendant
Walgreen Co.
Defendant
Target Corporation
Defendant
            Case MDL No. 3089 Document 236-3 Filed 10/26/23 Page 22 of 23
                                                                                                       Page 2 of 3
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Litigants                                                Attorneys
CVS Pharmacy, Inc.
Defendant
Amazon.com, Inc.
Defendant
AMAZON.COM SERVICES LLC
Defendant
Does 1-20
Defendant


Proceedings

#      Date           Proceeding Text                                                         Source
1      10/25/2023     NOTICE OF REMOVAL from Circuit Court of Madison County,
                      case number 2023LA001311 ( Filing fee $ 402 receipt number
                      AILSDC-5218326), filed by Bayer Healthcare LLC. (Attachments:
                      # 1 Exhibit 1 - State Court Complaint, # 2 Exhibit 2 - Service, # 3
                      Exhibit 3 - State Court Docket, # 4 Civil Cover Sheet)(Roberts,
                      Eric) (Entered: 10/25/2023)
2      10/25/2023     NOTICE of Appearance by Eric M. Roberts on behalf of Bayer
                      Healthcare LLC (Roberts, Eric) (Entered: 10/25/2023)
3      10/25/2023     Federal Rule of Civil Procedure 7.1 Disclosure Statement by
                      Bayer Healthcare LLC identifying Corporate Parent Bayer AG,
                      Other Affiliate Bayer Healthcare Pharmaceuticals Inc., Other
                      Affiliate Schering Berlin Inc., Other Affiliate Bayer Corporation,
                      Other Affiliate Bayer Pharma AG, Other Affiliate Bayer World
                      Investments B.V., Other Affiliate Bayer US Holding LP, Other
                      Affiliate Bayer Solution B.V., Other Affiliate Bayer Medical Care
                      Inc., Other Affiliate Bayer CropScience AG, Other Affiliate
                      NippoNex Inc., Other Affiliate Bayer West Coast Corporation,
                      Other Affiliate Bayer Essure Inc., Other Affiliate Bayer Consumer
                      Care Holdings LLC, Other Affiliate MiraLAX LLC, Other Affiliate
                      Bayer East Coast LLC, Other Affiliate Bayer Samson I LLC, Other
                      Affiliate Bayer Samson II LLC, Other Affiliate Bayer HealthCare
                      US Funding LLC., Other Affiliate Bayer HealthCare Holdings LLC.,
                      Other Affiliate Bayer Intellectual Property GmbH for Bayer
                      Healthcare LLC. (Attachments: # 1 Exhibit A)(Roberts, Eric)
                      (Entered: 10/25/2023)
4      10/26/2023     NOTICE OF INITIAL ASSIGNMENT TO A U.S. MAGISTRATE
                      JUDGE: This case has been randomly assigned to United States
                      Magistrate Judge Mark A. Beatty pursuant to Administrative Order
                      347. The parties are advised that their consent is required if the
                      assigned Magistrate Judge is to conduct all further proceedings in
                      this case, including trial and final entry of judgment pursuant to 28
                      U.S.C. 636(c) and Federal Rule of Civil Procedure 73. As set forth
                      in Administrative Order No. 347, each party will be required to file
                      a Notice and Consent to Proceed Before a Magistrate Judge
                      Jurisdiction form indicating consent or non-consent to the
                      jurisdiction of the assigned Magistrate Judge. If all parties do not
                      consent to the Magistrate Judge's jurisdiction, the case will be
                      randomly assigned to a district judge for all further proceedings
                      and the parties cannot later consent to reassignment of the case
                      to a magistrate judge. The parties are further advised that they are
                      free to withhold consent without adverse substantive
                      consequences. Within 21 days of this Notice, the following party or
                      parties must file the attached form indicating consent to proceed
                      before the assigned Magistrate Judge or an affirmative declination
                      to consent: Bayer Healthcare LLC. A link regarding the magistrate
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 #         Date                Proceeding Text                                                     Source
                               judges in this district is attached for your convenience:
                               https://www.ilsd.uscourts.gov/documents/BenefitsofConsent.pdf.
                               All future documents must bear case number 3:23-CV-3494-MAB.
                               Refer to Civil/Removal Case Processing Requirements, found on
                               the ILSD website, for further service information. Consent due by
                               11/16/2023 (clw) (Entered: 10/26/2023)

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